






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-73,697-01




RAUL DAVID JACKSON, Relator

v.

DALLAS DISTRICT CLERK, Respondent




ON APPLICATION FOR A WRIT OF MANDAMUS
CAUSE NO. W06-00445-K IN THE CRIMINAL DISTRICT COURT NO. 4
FROM DALLAS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the Criminal District Court No. 4 of Dallas County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Dallas County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Dallas County.  Should the District Clerk respond with an order
designating issues, the response shall also note the date the District Attorney’s office was served.
This application for leave to file a writ of mandamus shall be held in abeyance until the respondent
has submitted the appropriate response.  Such response shall be submitted within 30 days of the date
of this order.


Filed: March 31, 2010
Do not publish&nbsp;


